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                        EXHIBIT

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    UTAC
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    BW-23-0008        BODYWIRE (PARTIAL TRANSCRIPTION]

                      EXHIBIT: N-18
                      SESSION: 2
                      DATE:       FEBRUARY 17,2023

                      TIME:       20:31 - 20:42

                      PARTICIPANTS:

                                  CI

                                  ANDRES GONZAIEZ-VICENCIO (RANCHERO)




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                           INON.PERTINENT PORTIONS HAVE BEEN SUMMARZED]

                                                [RECORDING BEGINS]

      00:00:00            Prologue.

      MILLER: Today is February 17 ,2023 at approximately 20:3 I hours. Wc'll bc conducting a
                        controlled purchase of methamphetamine from Ranchcro.

      00:00:   10         Unintelligible convcrsation. CI tums on car and drives.

                                                  ITRANSCRTPTTON]

                                                  (00:04:04 - 00:09:16)


ANDRES: Oiga.                                                ANDRES: Hev-

CI             Listo, creo que qued6, oiga...                CI           Cool, I think it's ready, man...

         IVOCES ENTRECRUZADAS]                                              lvorcEs oVERLAPI
ANDRES: Le dije a este pinche bato. [L{]                     ANDRES: I told this tucking guy. [U/I] dude, ask
               cabr6n, dile si tiene aqui donde                           him if he has a place here to split them
               partirlas. Y nom6s...                                      And I just...

         IVOCES ENTRECRUZADAS]                                              [VOICES OVERLAP]

CI:            Listo.                                        CI           Cool

ANDRES: ...1e agan6 dos al cabr6n porque las...              ANDRES: ...got two from the guy because the
               esta vez viene bien caro el hijo de su                     this son of a fucking bitch is very
               puta madre, ya...                                          expensive this time,, now...

CI:            ;Qu6 le dijo?                                 CI:          What did they say?

ANDRES: No, pues, que me las quiere dar m6s                  ANDRES: No, well, he wants to charge me more
               cara. Le digo: "No, entonces yo...                         for them. I said, "No, then I'm...

         IVOCES ENTRECRUZADAS]                                              IVOICES OVERLAP]




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CI          Ah.                                        CI:        oh

ANDRES: ...contigo voy a ganar nada"                   ANDRES: ...not going to make any profit with
                                                                  you."

             lvocEs AL FONDO]                                   [vorcEs rN BACKGROLTND]
CI:         Para andar dando putas vucltas     [VI]    CI         Just to be going in fucking circles [U/I]


         [VOCES ENTRICRUZADAS]                                      [vorcEs OVERLAP]
ANDRES: No, este se me hace [VI] m6s peno              ANDRES: No, this one seems [U/I] more shitty
            que [Vl] Esti bien perro esta madre.               than [U/I] This shit is not good.

CI:         Mire, eI... eI... el bato, ya habl6 bien   CI         Look, the... the... the guy, I already
            con 61, oiga.                                         talked to him, man.

ANDRES: Si.                                            ANDRES: Yeah.

CI          Y dijo que eI... el lunes... cl lunes el   CI:        And hc said that on... on Monday... on
            bonito. Lo quc lenga cl lunes. pero si                Monday for thc beautiful one. What
            tiene eI... el chingadazo, el bato                    they'll have on Monday, but if they
            ahorita ya se movi6 a agarrar el                      have the... the thing, the guy moved to
            billete. El buey se encul6 cuando le                  go get the cash. The guy got pissed,
            dije, "Mira, este bato dijo que lo que                when I told him, "Look, this guy said
            quieras, cabr6n".                                     whatever you want, bro."

ANDRES: Mire, oiga.                                    ANDRES: Look, man.

         [VOCES ENTRECRUZADAS]                                      IVOICES OVERLAP]

CI          Que [I/I] el culo                          CI:        What [U/I] the ass

ANDRES: 81... vc... yo ocupo de que me haga el         ANDRES: The... see... I need him to do me the
            paro de sacar la otra cabrona que                     favor ofgetting out thc other thing that
            traigo ahi...                                         I have there...

         [VOCES ENTRECRUZADAS]                                      IVOICES OVERLAP]

CI          si.                                        CI         Yeah.



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ANDRES: Y si... y si es... y si 6se mismo pinche        ANDRES    And if... and ifit... and ifyou guys pay
             dia me las pagan. yo a esc mismo                     mc the samc fucking day, I'll get them
             pinche digalc le consigo tres                        three things that same fucking day.
             cabronas.

CI: ,       Aje.                                        CI:       Uh-huh.

ANDRIS: Por eso Ie digo...                              ANDRES:   That's why I told you.

CI:         E1... e1... es que el buey se movi6.        CI:       The... the... it's because the guy moved.

ANDRES: Mm-jmm.                                         ANDRES:   Mm-hmm.

         [VOCES ENTRECRUZADAS]                                      lvorcEs oVERLAPI
CI:          Ahorita le dije: "Mira... mira, buey no    CI        Ijust told him, "Look... [ook, dude,
             me andcs con mamadas". Le dije:                      don't give me bullshit." I said,
             "Porquc el bato, yo ya habl6 con 61, ya              "Becausc the guy, I already talked to
             qued6 con 6[". Le dije: "Por lo menos                him, I already came to an agreement
             m6ndame un bato para que me                          with him." I said, "At least send me a
             mandes e[... eI... el pesito ese, pues".             guy, so that you send me that... that...
             [PAUSA] Mm, traia un revoltijo.                      that money." [PAUSE] Mm, we had a
                                                                  mess.


                     IPAUSA]                                                 IPAUSEI

ANDRES: Ah, pues. [TOSE] ;Para qu6 pinches              ANDRES: Oh, well. ICOUGHS] Why the tuck
             lo cuento?                                           would I count it.

CI:         Es que el buey, si, pues, est6... Pero      CI:       It'sjust that the guy, ycah, well, he's...
            cu6ntelos mejor porque cl dinero y los                But you shouldjust count it because
            chismes se cuentan, oiga.                             you need to keep tabs on money and
                                                                  gossip.


            ICONTANDO DTNEROI                                      ICOUNTING MONEY]

CI:          Si est6 ahi                                CI        Yeah, it's thgre

ANDRES: lEsLi bueno?                                    ANDRES: Is it good?



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CI:           Si, pero ya [e di una cagada a este       CI:          Yeah, but I already gave this guy some
              buey, pcro me dijo: "Mira, buey, cs                    shit, but he told me, "Look, man, it's
              que yo me movi", dice, "porque yo                      because I moved," he said, "because I
              quiero agarrar, pues, entonces..."                     want to get some, well, so..." Hc said,
              Dice: "Dile que junte todo y el                        "Tell him to get cverlthing together,
              domin... el lunes segurito, segurito".                 and on Sun... on Monday absolutely
              Porque el domingo dice que no                          for sure." Because he said that he won't
              alcanza a llegar, pero segrrito...                     be able to get here on Sunday, but lor
                                                                     sure...


          IVOCES ENTRECRUZADAS]                                        IVOICES OVERLAP]

ANDRES:       Pero... pero yo nom6s quiero que me       ANDRES: But... but I just want you guys to do me
              hagan e[... Y ahi la traigo la otra                    the... And I have another thing therc...
              cabrona...

CI            No, e1... el lunes si no le ha llegado    CI:          No, on... on Monday, if you haven't
              los chinos, yo voy por esa luego                       gotten the Chinese ones, I'll go pick
              luego el lunes. Pero...                                that up right away on Monday. But...

          IVOCES ENTRECRUZADAS]                                        IVOICES OVERLAP]

ANDRES: Y eI... y eI... y el pinche ... el piche jale   ANDRES: And th... and the... and the fucking...
              tambi6n asi va a estar.                                this is how the fucking work is going
                                                                     to be also.

CI:           Aja.                                      CI:          Uh-huh.

ANDRES: Si... si yo le voy a enseflar una puta          ANDRES: If... if I'm going to show you a fucking
              brecha porque ya eso es mucho... est6                  opening, because that's a lot... it's real
              bien peno asi.                                         tough that way.

CI            Si, si, si. ;Usted... usted digame   c6mo CI           Yeah, yeah, yeah. You... you tell me
              no...                                                  how no...

          IVOCES ENTRECRUZADAS]                                        IVOICES OVERLAP]

ANDRES: Asi... asi.. asi cerquita de... de las          ANDRES: Like... like... likc close to... to the
              trailas ahi                                            trailers therc...




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         IVOCES ENTRECRUZADAS]                                     [VOICES OVERLAP]

CI           Ya, es que [VI]                         CI:         OK, bccause [U/!

ANDRES       ...una puta brecha para e[ lado de      ANDRES;     ...a fucking opcning, on the side of
             donde yo vivo. Ya yo le voy a enseiar               where I live. I'm going to show you
             d6nde y tiene metida para que se                    where, and it has it in there, so you'll
             salga. Yo le voy a enseiiar. Ahi he                 comc out. I'm going to show you. I've
             dejado mi carro en el ptnchc alley y                left my car in the fucking alley and
             nos metemos los dos y ya usted va a                 we'll both go in there, and then you'll
             ver por donde pueden salir. Nos                     see whcre you can go out through.
             vamos a encontrar.                                  We'll meet up.

CI:          Bucno.                                  CI:         oK.

ANDRES: Y [VI] aqui estri lo tuyo, aqui est6 y       ANDRES: And [Uil] your thing is here, it's hcrc,
             v6monos...                                          and let's go...

CI:          Bucno, ah                               CI:         Well. uh

         [VOCES ENTRECRUZADAS]                                     [vorcES OVERLAP]

ANDRES: Yo no ando con chingaderas. Eso si           ANDRES: I don't fuck around. I can assure you of
             se lo aseguro.                                      that.


         [VOCES ENTRECRUZADAS]                                     IVOICES OVERLAP]

CI:         No, si, no, pero es que como dice        CI:         No, yeah, no, but it's just that likc you
            usted, este cabr6n ya aqui... ya... ya               said, it's fucked up here now... now...
            parecen chingadazos, ya esta de la                   they seem fucked up, now it's bullshit
             verga.


         IVOCES ENTRECRUZADAS]                                     IVOICES OVERLAP]

ANDRES: Entonces quedan 400, lverdad?                ANDRES: So 400 are left, right?

CI:          Si, quedan cuatro...                    CI:         Yeah, what's left is four...

         IVOCES ENTRECRUZADAS]                                     IVOICTS OVERLAP]




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ANDRES: Pero quiero que nom6s que me haga             ANDRES: But Iiust want you to do me the favor.
            el paro.

C]:         No, olvidese                              CI:         No, forget...

         IVOCES ENTRECRUZADAS]                                      lvorcEs oVERLAPI
ANDRES: No, ya le digo agarre dos, oiga, que          ANDRES: No, I'll tell him, take two, man,
            esa vez queria d6rmelas bien caras, el                because he wanted to give those to me
            hijo de la chingada.                                  for very expcnsivc, the son of a bitch.

         IVOCES ENTREC]IiUZADAS]                                    lvorcEs oVERLAPI
CI:         Es que el bato se encul6 cuando le        CI:         It's because the guy got pisscd, when I
            dije: "Mira, buey, ahi va a haber". Me                told him. "Look. man. there's going to
            dijo: "Deja me muevo, buey". Y asi                    some there." He told me, "Let me
            cn cuanto le dije, cuando usted se fue,               move, dude." And as soon as I told
            uy, se fue y se movi6 el buey.                        him, when you left, oh, the guy went
                                                                  and moved.

ANDRES: Bien madre, est6 hasta m6s buena,             ANDRES: Really good, it's cven bctter, just...
            nom6s...


         [VOCES ENTRECRUZADAS]                                      lvorcEs oVERLAPI
CI:         Y le dije... 1e... le dije al bu...       CI:         And I told... I... I told the gu...

ANDRES: [VI] la gente [VI]                            ANDRES      [U/I] the people [U/!

         [VOCES ENTRECRUZADAS]                                      [VOICES OVERLAP]

CI:         Le dije...                                CI:         I told...

         ryOCES ENTRTCRUZADAS]                                      IVOICES OVERLAP]

ANDRES: Esa madre se me hace que este hasta           ANDRES:     I believe that shit is even better, the
            m6s peno la buey, mire.                               shit, look.

CI:         Hijo de su pinche madre.                  CI:         Son ofa bitch.




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ANDRES      Y asi est6n los otros cabrones             ANDRES: And that how those other things are
            tambi6n...                                             too...

CI:         Y... y... y le dije... le dije al buey.    ( t:        Ard... and... and I told... I told thc guy.

         [VOCES ENTRECRUZADAS]                                       [VOICES OVERLAP]

ANDRES: Los otros cabrones tambi6n [VI]                ANDRES: The other dudes atso [U/I] fucking
            pinche ladrillos asi el buey. Esa era la               brink like that, the guy. That was the
            otra que traigo alli.                                  othcr one I have there.

CI:         ;Oh, si? No, pues, ost6 bueno, oiga,       CI          Oh, ye ah? No, wcll, that's good, man,
            para... Porque para...                                 for... Because for...

         [VOCES ENTRECRUZADAS]                                       [VOICES OVERLAP]

ANDRES: Lo... lo malo cs que si le encargo             ANDRES: The... the bad thing is that if I order
            ese... el lunes el pinche viento porquc                that... On Monday the fucking wind,
            yo tambi6n con...                                      because I also with...


         IVOCES ENTRECRUZADAS]                                       [VOICES OVERLAP]

CI:         ...no, si, eI... e[...                     CI:         ...no, yeah, the... the...


         IVOCES ENTRECRUZADAS]                                       IVOICES OVERLAP]

ANDRES      Yo... yo tambi6n consegui ahora            ANDRES: I... I also got some, because with that
            porque con el batillo ese [VI]                     guy [UiI]

         LVOCES ENTRECRUZADAS]                                       lvorcEs oVERLAPI
CI:         Si 1e... si lc caen aquellos bueyes e1     CI:         Ifthosc... if those guys show up on
            domingo... esc... cse tambi6n 1o va                    Sunday... that... that one is also going
            agarrar y 1o...                                        to get it and...

         IVOCES ENTRECRUZADAS]                                       [VOICES OVERLAP]

ANDRES: Si.                                            ANDRES: Yeah.




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CI:          ...que le qued6 pa... para el lunes       CI:         ...what was left over for... for early
             tempranito.                                           Monday.

          IVOCES ENTRECRUZADAS]                                      [vorcEs OVERLAP]
ANDRES: Nomiis que haga las pares... el paro           ANDRES: Just as long as you do the... the favor
             con la feria porque este buey me                      with the money, because this guy lent
             prest6 el buey.                                       me some.

CI           No, seguro, oiga. Nomiis c1... cl pcdo    Ci          No, for sure, man. The only issue is
             que estc buey sc mov... [VI] cl buey...               is that this guy mov... p/Il the guy.

          IVOCES ENTRECRUZADAS]                                      lvorcEs oVERLAPI
ANDRES: tVI]                                           ANDRES: [U/I]

CI:          ...se... se... se mo... se movi6. Movi6   CI          ...he... hc... hc mo... ho moved. The
             cl culo lucgo luego el buey dijo:                     guy got his ass in gear right away, he
             "lNeta?" Le dije: "Si, buey". Dice:                   said, "Really?" I told him "Yeah,
             "No, buey, pues, es que me traes                      dude." He said, "Oh, man, well, you
             luelta y welta hace como dos                          have me going in circles for two weeks
             semanas dici6ndome". Le digo: "No,                    telling me." I told him, "No, dude, but
             buey. pcro ya el bato. ya habl6 bicn                  now the guy, I talked to him, I'm
             con 61, digo para que muevas el culo y                saying so that you get your ass in gear,
             no quedarle mal". Le digo: "No andes                  and we don't let him down." I told him,
             con mamada".                                          "Don't bullshit around."

ANDRIS       Mire, hrigame el pinche paro nomris       ANDRES: Look, do me the fucking favor ofjust
             de sacarme esa cabrona que traigo ahi                 getting that thing out that I have there,
             y si en la pinche tarde que se... eh...               and if in the fucking aftemoon that it...
             otro dia quc se lleva esa y quiere las                uh... another day that you takc that, and
             Ees... yo se las consigo, las                         you want the three... I'll get them for
             cabronas...                                           you, the things...

CI           ;La... las tres libretas'?                CI:         The... the three pounds.

ANDRES: Las tres libras.                               ANDRES: The thrce pounds.

CI:          Bueno. Deje, entonces vamos a hacer       CI:         All right. Hold on, then we're going to
             asi.                                                  do it that way.



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          [VOCES ENTRECRUZADAS]                                        [VOICES OVERLAP]

ANDRES: Pero que no haiga chingadera [VI]                ANDRES: But there should be no bullshit [U/!

          [VOCES ENTRECRUZADAS]                                        IVOICES OVERLAP]

CI           No, porquc el bato ya sc fue aganar cl      CI:         No, because the guy went to go get the
             billete. Ya me dijo: "Ya yo fui... yo                   cash already. He told me, "I already
             fui". Dice: "Ya te voy agarrar los... los               went... I went." He said. "l'm going to
             30 baros", dice, "para empezar".                        get the... the 30 bucks for you," he
                                                                     said, "to start."

          IVOCES ENTRECRUZADAS]                                        IVOICES OVERLAP]

ANDRES: Porque, como le he dicho, yo no                  ANDRES: Because, like I've told you, I don't have
             tengo quien me agarre esa madre. Yo                     anyone to get that shit for me. I'm
             Ia agarro porque usted... usted me a...                 getting it because you... you have...

          IVOCES ENTRECRUZADAS]                                        lvorcEs oVERLAPI
CI           No, no, pues, es que ahorita... Por eso     CI          No, no, well, because right now...
             yo lc dije: "Mira, buey, no me hagas                    That's why I told him, "Look, dude,
             quedar mal. Miindame ese peso por lo                    don't make mc look bad. At least send
             menos. Yo ahorita ya me estaba                          me that peso. I was getting myself
             aneglado para el vale y todo. Cuando                    rcady for thc guy and everything.
             usted me habl6, dije: "Hijo de la                       When you called me, I said, "Son of a
             chingada". No esperaba. Yo dije: "A                     bitch." I wasn't expecting it. I said,
             lo mejor ni se va a hacer". Yo estaba                   "Maybe it won't even get donc." I was
             pensando como la otra vez.                              thinking like last time.

ANDRES: Mm-jmm                                           ANDRES: Mm-hmm.

CI           Pero, no, no se preocupe, e1... el lunes    CI:         Bu! no, don't worry, on... on Monday
             t1/rl                                                   trJirl

          [VOCES ENTRECRUZADAS]                                        IVOICES OVERLAPI




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ANDRES:      [/I] como ahorita [VI] que habia          ANDRES:    [U/l] like right now [U/I] that the guy
             dicho cl buey, ayer que venia. Y                     had said yesterday when he was
             Ilcgu6. y le dije a estc bucy. le dije.              coming. And I got here , and told the
             "i,No... no te ha hablado nadie?                     guy, I told him, "Has... has anyone
             ITOSEI [I,T] que qued6 de vermc".                    callcd you? [COUGHS] [U/t] that
             Dijo: "No me ha hablado". Y ya lc                    agreed to see me." He said. "He hasn't
             dije: "Ahi nos vemos. pues. maiana.                  called me." So I told him, "See you,
             buey". Mc iba saliendo, cuando dice:                 then. tomorrow. dudc." I was leaving.
             "Me estti hablando el cabr6n, que ya                 when he said, "The dude's calling me,
             esten aqui".                                         saying that they're here now."

CI           Hijo de la chinga                         CI:        Son of a hitch

ANDRES: Y, pucs, 1qu6 putas hacemos? Yo 1o... ANDRES: And, wcl[, what the fuck do we do? I...

          IVOCES ENTRECRUZADAS]                                     [vorcEs OVERLAP]
CI           E1... e1... el lunes segurito nomis...    CI:        On... on... on Monday it's for sure is
                                                                  all...

          [VOCES ENTRECRUZADAS]                                     IVOICES OVERLAP]

ANDRES: Y yo no traia el puto dinero, yo pens6         ANDRES: And I didn't have the fucking money, I
             que...                                               thought that...

          IVOCES ENTRECRUZADAS]                                     [vorcEs oVERLAP]

CI           Nomris deje... nomiis deje... Porque      CI         Just let... just let... Because I have to
             tcngo quc chingarle, ya es tarde, pues.              hit it, it's late now.

ANDRES: Y en la tarde ya qu6 se hace.                  ANDRES: And what do we do in the afternoon

          IVOCES ENTRECRUZADAS]                                     [vorcEs OVERLAP]
CI           Salien... saliendo de [a chinga..         CI:        Getting... getting out of the hustle

ANDRES: Ev                                             ANDRES: Yeah




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CI           Hoy... Ya para irnos acomodando          CI:        Today... So that we can start making a
             para que todos... usted contento, yo                plan so that cveryone... you'rc happy,
             contcnlo, y aqucl buey contento.                    I'm happy, and that guy is happy.

ANDRES: Si, si, para todos hay.                       ANDRES: Yeah, yeah, there's enough for
                                                                 everyone.

CI:          Para todos, para todos salc el sol.      CI:        For everyone, the son comes up for
                                                                 everyone.

ANDRES: Ya est6, pues. [TOSE] [VI] pues.              ANDRES: Sounds good, then. [COUGHS] [U/!
                                                                 then.

CI:          Ya... Ora... Andele, pues, oiga.         CI         OK... Cool... All right, then, man.

          ryOCES ENTRECRUZADAS]                                    [VOICES OVERLAP]

ANDRES: ttTl                                          ANDRES: [U/I]

CI:          Ahi que est6 bien, ahi luego lo veo en   CI         Take carc, I'll scc you later at the
             el baile.                                           dancc.

ANDRES: 6rale.                                        ANDRES:    Cool.

CI:          Andale.                                  CI:        All right.

ANDRES: tYIl                                          ANDRTS:    tu/I]

          [VOCES ENTRECRUZADAS]                                    [VOICES OVERLAP]

CI:          Dale.                                    CI:        Cool.


          [VOCES ENTRECRUZADAS]                                    [VOICES OVERLAP]

ANDRES: tIA]                                          ANDRES     tuAl

CI:          Ahorita voy a ir al 81.                  CI:        lm going to the 8l right now.

ANDRES: Andale, pues.                                 ANDRES:    All right, then.



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                                                                                                      l3

CI:            Ora.                                      CI:          OK.


                                        [END OF TRANSCRIPTION]

                                                 ISUMMARY]

      00:09:   l7     Andr6s closes door. CI drives. CI get's out ofcar.

      00:11:01 Epilogue.
      MILLER: Detective Miller terminating the wire at 20:42 hours.

                                           IEND OF RECORDTNGI




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